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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 )    Chapter 11
                                                       )
ENERGY FUTURE HOLDINGS CORP., et al.,1                 )    Case No. 14-10979 (CSS)
                                                       )
                                    Debtors.           )    (Jointly Administered)
                                                       )
                                                       )    Re: D.I. 10304

  DECLARATION OF JONATHAN F. GANTER, ESQ. IN SUPPORT OF SURREPLY
     OF ENERGY FUTURE HOLDINGS CORP., ET AL., TO THE MOTION OF
   SHIRLEY FENICLE, DAVID WILLIAM FAHY, JOHN H. JONES, AND DAVID
  HEINZMANN TO DISMISS CHAPTER 11 PETITIONS OF ASBESTOS DEBTORS
 EECI, INC., EEC HOLDINGS, INC., LSGT SACROC, INC., AND LSGT GAS CO. LLC

  JONATHAN F. GANTER declares as follows:

         1. I am an attorney admitted to practice in the District of Columbia and the United

States District Court for the District of Columbia and the state of New Jersey. I am admitted pro

hac vice to the United States Bankruptcy Court for the District of Delaware.

         2. I submit this declaration in support of the Surreply of Energy Future Holdings Corp.,

et al., to the Motion of Shirley Fenicle, David William Fahy, John H. Jones, and David

Heinzmann to Dismiss Chapter 11 Petitions of Asbestos Debtors EECI, Inc., EEC Holdings, Inc.,

LSGT Sacroc, Inc., And LSGT Gas Co. LLC Pursuant to 11 U.S.C. § 1112(B), filed

contemporaneously herewith.2

         1
          The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the debtors’ claims and
noticing agent at http://www.efhcaseinfo.com.
         2
         All capitalized terms used but not defined herein are given the meanings ascribed to them in the
Surreply of Energy Future Holdings Corp., et al., to the Motion of Shirley Fenicle, David William Fahy,
John H. Jones, and David Heinzmann to Dismiss Chapter 11 Petitions of Asbestos Debtors EECI, Inc.,
EEC Holdings, Inc., LSGT Sacroc, Inc., And LSGT Gas Co. LLC Pursuant to 11 U.S.C. § 1112(b).


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         3. Attached hereto as Exhibit A is an excerpt from a copy of the transcript of the August

18, 2016 T-Side Confirmation Hearing.

         4. Attached hereto as Exhibit B is a true and correct copy of the August 13, 2016

Declaration of Kristopher E. Moldovan in Support of Confirmation of the Third Amended Plan

of Reorganization, labeled D-DIR Moldovan.

         5. Attached hereto as Exhibit C is an excerpt from a copy of the transcript of the August

17, 2016 T-Side Confirmation Hearing.

         6. Attached hereto as Exhibit D is an excerpt from a copy of the transcript of the August

26, 2016 T-Side Confirmation Hearing.

         7. Attached hereto as Exhibit E is an excerpt from a copy of the transcript of the August

11, 2015 Hearing.

         8. Attached hereto as Exhibit F is a true and correct copy of the July 18, 2016 Email

from Evercore to EFH, KE re Merger Agreement Analysis, labeled DX229 [EFH06533450-53].

         9. Attached hereto as Exhibit G is a true and correct copy of the June 16, 2016 email

from S. Dore to C. Sieving, labeled DX222 [EFH06522696-701]

         10. Attached hereto as Exhibit H is a true and correct copy of the June 18, 2016 email

from C. Sieving to S. Dore and A. Calder, labeled DX106 [EFH06436044-45].



                           [Remainder of page intentionally left blank.]




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         Pursuant to 28 U.S.C. § 1746, I hereby declare that the foregoing is true and correct to the

best of my knowledge and belief.

         Executed this 4th day of December 2016.


                                             /s/ Jonathan F. Ganter
                                             Jonathan F. Ganter (pro hac vice)




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